   Case: 1:20-cv-00172-JAR Doc. #: 1 Filed: 08/12/20 Page: 1 of 16 PageID #: 1




                             UNITED STATES DISTRICT COURT
                         IN THE EASTERN DISTRICT OF MISSOURI

JANE DOE 7,                                )
                                           )
       Plaintiff,                          )
                                           )
vs.                                        )                  Case No.:
                                           )
SOUTHEAST MISSOURI STATE                   )
UNIVERSITY,                                )                  JURY TRIAL DEMANDED
Serve:                                     )
       Dr. Carlos Vargas                   )
       Southeast Missouri State University )
       One University Plaza                )
       Cape Girardeau, MO 63701            )
                                           )
                                           )
SEMO DEPARTMENT OF                         )
PUBLIC SAFETY OFFICER                      )
JYOTHI DIRNBERGER                          )
Serve:                                     )
       Jyothi Dirnberger                   )
       University Police                   )
       1401 N. Sprigg                      )
       Cape Girardeau, MO 63701            )
                                           )
Defendants.                                )

                                          COMPLAINT

        COMES NOW the Plaintiff, Jane Doe 7, by and through her attorney Nicole Gorovsky of

Gorovsky Law, LLC, and for her Complaint against Defendants, Southeast Missouri State

University and Southeast Missouri State University Department of Public Safety Officer Jyothi

Dirnberger, states as follows:

   1.    Plaintiff brings this lawsuit to hold Defendants responsible for the injuries she suffered

        due to gender discrimination following rape perpetrated upon her by a male student at




                                                 1
   Case: 1:20-cv-00172-JAR Doc. #: 1 Filed: 08/12/20 Page: 2 of 16 PageID #: 2




        Southeast Missouri State (“SEMO”) and to protect others from the pain of gender

        discrimination following sexual assault and rape.

                                  JURISDITION AND VENUE

   2.   Jurisdiction lies under 28 U.S.C. §1331 and § 1343(a)(4) in as much as this complaint

presents a federal question.

   3. Plaintiff brings this action in part pursuant to Title IX of the Education Amendments of

1972 (20 U.S.C. §1681) which is an act of Congress providing for protection of civil rights.

   4. Venue in the Eastern District of Missouri is appropriate because the occurrences

complained of took place in Cape Girardeau County, Missouri, and the Defendants and Plaintiff

reside within the Eastern District of Missouri. 28 U.S.C. §1391.

                                              PARTIES

   5. Plaintiff, Jane Doe 7, is an adult female and was at all time relevant to this complaint a

        student matriculating and living on the Southeast Missouri State University (SEMO)

        campus in Cape Girardeau, Missouri.

   6. Upon information and belief, Defendant SEMO is a Missouri State University and a

        nonprofit corporation formed under the laws of Missouri and its headquarters are in

        Missouri. Originally formed in 1873, SEMO does business in Missouri and has obtained

        the benefit of Missouri laws for its main campus in Cape Girardeau, Missouri. SEMO is a

        Federally-funded program as it receives federal financial assistance in the form of

        financial aid for its students and further receives federal grants as required for litigation

        under Title IX of the Educational Amendments of 1972, 20 U.S.C. §1681 et seq.



                                                   2
Case: 1:20-cv-00172-JAR Doc. #: 1 Filed: 08/12/20 Page: 3 of 16 PageID #: 3




                      FACTS APPLICABLE TO ALL COUNTS

7. In August 2016, Plaintiff was a freshman student at SEMO.

8. SEMO is a Federally Funded education program as it receives federal financial assistance

   in the form of financial aid for its students and further receives federal grants as required

   for litigation under Title IX of the Educational Amendments of 1972, 20 U.S.C §1681 et

   seq.

9. Plaintiff resided in Towers North Dormitory, which is located on the SEMO campus

   (1000 Towers Circle, Cape Girardeau, MO 63701).

10. On or around August 28, 2016, Plaintiff had only been at her new college, SEMO, for

   approximately one week.

11. In the early hours of August 28, 2016, Plaintiff was returning to campus from an off-

   campus party. Plaintiff consumed approximately five or six beers at the party. She took a

   sober car service for her drive back to campus.

12. During her sober car ride back, Plaintiff encountered a fellow SEMO student named

   Jordan Huerta but she did not learn his name at that time. Huerta offered to walk Plaintiff

   back to her dormitory. Plaintiff accepted his offer because she was a freshman student

   and was lost on an unfamiliar campus.

13. However, instead of taking her to her dormitory room in Towers North, Huerta took

   Plaintiff to his dormitory room located in Towers South.

14. Once in his dorm room, Huerta began to kiss Plaintiff and started to remove her clothing.

   During this time, Plaintiff told Huerta she needed to leave multiple times. Huerta

   implored Plaintiff to remain in his dorm room and Plaintiff became scared. She felt

   certain that if she tried to leave, Huerta might physically harm her.

                                             3
Case: 1:20-cv-00172-JAR Doc. #: 1 Filed: 08/12/20 Page: 4 of 16 PageID #: 4




15. Huerta then proceeded to rape Plaintiff as Plaintiff repeatedly told Huerta “no” and “stop,

   it hurts”. Huerta also pushed Plaintiff’s head down towards his crotch and forced her to

   engage in oral sex.

16. Huerta eventually ended the assault and went to the bathroom. While Huerta was in the

   bathroom, Plaintiff started getting dressed so that she could escape.

17. When Huerta left the bathroom, he got angry that Plaintiff was trying to leave. He tried to

   convince Plaintiff to stay, but she again asked for permission to leave, and Huerta finally

   relented. However, he was sure not to let Plaintiff just leave on her own, but instead

   insisted that he would walk her back to her dorm.

18. When Plaintiff finally arrived at Towers North Dormitory, she spotted a friend who was

   another student at Defendant SEMO. She walked away from Huerta and walked directly

   to the friend. She said to her friend, “I didn’t know what I was going to do…I’m so glad I

   bumped into you.” She burst into tears and told him she had been raped.

19. Plaintiff arrived at her dorm room and contacted the Resident Advisor (“RA”) Kendra

   Reichling. Plaintiff told Ms. Reichling that she had been raped.

20. Plaintiff and Reichling contacted the Department of Public Safety (“DPS”) – the Police

   Department on campus. Two officers from DPS arrived at Plaintiff’s dorm room.

21. Officer Jyothi Dirnberger interviewed Plaintiff. Plaintiff explained that she was sexually

   assaulted but that she did not know the name of the perpetrator. She was able to provide a

   physical description of Huerta to Officer Dirnberger.

22. After she spoke with Officer Dirnberger, Plaintiff went to the hospital where police took

   her clothes as evidence and Plaintiff endured a sexual assault examination otherwise

   known as a rape kit evidence collection exam.

                                             4
Case: 1:20-cv-00172-JAR Doc. #: 1 Filed: 08/12/20 Page: 5 of 16 PageID #: 5




23. Plaintiff was also tested for sexually transmitted infections.

24. The Sexual Assault Examiner found bleeding coming from Plaintiff’s cervix as a result of

   the assault and discharge redness. In addition, Plaintiff had a bruise on her thigh and red

   raised lesion on her leg.

25. Plaintiff was prescribed antibiotics as a precautionary measure in case she acquired a

   sexually transmitted infection from the sexual assault.

26. The Sexual Assault Nurse Examiner interviewed Plaintiff at the hospital. Then, two days

   later, Plaintiff was given a forensic interview by Dedria Jordan at Beacon Health Center

   (73 Sheridan, Cape Girardeau, MO 63701). Between her interviews with Officer

   Dirnberger, the interview with the nurse examiner, and the forensic interview, Plaintiff

   had to re-tell and relive her experience of sexual assault at least three times.

27. During Plaintiff’s forensic interview at Beacon Health Center, Ms. Jordan asked Plaintiff

   where she was before the assault, what the room looked like where she was assaulted,

   how much she had to drink before the assault, what types of sexual acts occurred during

   the assault, if Plaintiff consented to specific sex acts during the assault, and where in the

   dorm room specific sex acts occurred.

28. Quickly, within 24 hours of the assault, SEMO Department of Public Safety Officers

   identified the perpetrator as Jordan Huerta. However, neither SEMO or the Department

   informed Plaintiff of Huerta’s name or anything about his identity.

29. Huerta provided a written statement to Defendant SEMO’s department of public safety

   on August 28, 2016, the same day as the assault. Plaintiff was never told that this

   happened.

30. Then, the following day, officers interviewed Huerta at the Department of Public Safety.

                                              5
Case: 1:20-cv-00172-JAR Doc. #: 1 Filed: 08/12/20 Page: 6 of 16 PageID #: 6




   They never told Plaintiff who the rapist was.

31. Officers collected bed linens and two used condoms from Huerta’s dorm room trash. One

   of those condoms was later identified as being used to rape Plaintiff and another was used

   for having sex with another woman hours later.

32. Officers took Huerta’s DNA. Plaintiff was not told.

33. After the sexual assault but prior to September 5, 2016, officers gave Huerta a “no

   contact” order on behalf of Plaintiff, yet they did not tell Plaintiff about it.

34. On September 5, 2016, Huerta deliberately sat near Plaintiff in the dormitory food court,

   in violation of said no contact order. Plaintiff, while still not knowing his name,

   recognized him sitting near her in the food court. Huerta and two male friends

   accompanying him laughed at and taunted Plaintiff while Huerta violated the no contact

   order that Plaintiff did not know about.

35. Plaintiff was terrified and reported the incident to the Department of Public Safety.

   Despite her report, however, Huerta continued to harass and intimidate Plaintiff. In a

   second incident at the dormitory food court, Huerta intentionally ran his shoulder into

   Plaintiff as he walked past her, again intimidating her and violating the no contact order.

36. During the period from the assault to the fall of 2019, Defendant SEMO failed to

   meaningfully investigate the sexual assault after Plaintiff reported it and failed to inform

   Plaintiff regarding vital aspects of the investigation, like the identity of her perpetrator.

   This prevented Plaintiff from seeking a civil Order of Protection, understanding her rights

   as a victim under criminal law, and accessing her Title IX rights.

37. While Plaintiff recognized Huerta’s face, she had no idea what his name was because he

   was being protected by Defendant SEMO. This continued for three years as Plaintiff

                                              6
Case: 1:20-cv-00172-JAR Doc. #: 1 Filed: 08/12/20 Page: 7 of 16 PageID #: 7




   lived in a hostile environment.

38. Shortly after the rape, Plaintiff’s family also contacted Officer Dirnberger. Officer

   Dirnberger refused to tell Plaintiff or her family the rapist’s identity. Officer Dirnberger

   further said that that information was being withheld to protect the rapist and his family.

39. Plaintiff’s family further contacted SEMO administration and asked for the identity of the

   rapist. Again, Defendant SEMO refused to provide that crucial information.

40. Plaintiff, while trying to complete her college education at SEMO after a traumatic rape,

   had to walk her campus in complete fear because she did not know the name of her

   assailant. She did not know where he would be next, if he would be in classes in which

   she enrolled or if he would become her next-door neighbor on campus. While his identity

   was protected by SEMO officials, he could walk the campus freely with no

   repercussions, knowing who she was and where she lived while she was prevented from

   knowing the same about him. This was all because Defendant SEMO failed to investigate

   and failed to even inform Plaintiff of her rights of Title IX of the Education Amendments

   of 1972, 20 U.S.C. § 1681(a) (“Title IX”).

41. Defendant SEMO’s anti-harassment policies state that “Southeast Missouri State

   University, including its officers and its employees, is responsible for maintaining a

   working and learning environment free from sexual harassment.”

   https://semo.edu/pdf/FinAdm_03-05_Policy.pdf

42. Defendant SEMO promises its students that “Students, staff, faculty, and administrators

   should know that the University is concerned about such behavior[sexual harassment]

   and is prepared to take preventative and corrective action, and also that individuals who

   engage in such misconduct are subject to appropriate disciplinary action, which may

                                             7
Case: 1:20-cv-00172-JAR Doc. #: 1 Filed: 08/12/20 Page: 8 of 16 PageID #: 8




   range from reprimand to suspension or dismissal.”

43. Defendant SEMO lists several rights afforded to victims of sexual violence and

   harassment which they violated in this case for years. These rights include, but are not

   limited to:

       a. “The right to be treated with respect by University officials;”

       b. “The right to be informed of the outcome and any sanction(s) of a campus

           disciplinary hearing involving sexual assault;”

       c. “The right to be informed about the process for adjudicating these cases and to be

           provided with resources and/or a resource person to assist you with understanding

           the process;”

       d. “The right to a campus restraining order or notice against trespass against another

           individual or individuals who have engaged in or threaten to engage in stalking,

           threatening, harassing, or other improper behavior that presents a danger to the

           welfare of the individual who has initiated the allegation;”

       e. “The right to notification of, options for, and available assistance in changing

           academic and living situations after an alleged sexual assault incident, if the

           reporting party so chooses and if such changes are reasonably available;”

       f. “The right to be notified of available counseling or student services for victims of

           sexual assault, both on campus and in the community.”

           https://semo.edu/responsibleredhawks/sexual-violence.html

44. Neither Defendant SEMO’s regulations nor Title IX, nor any law provides any “right” to

   withhold a perpetrator’s name from a victim of sexual violence.

45. Defendant failed to provide Plaintiff with important updates and information regarding

                                             8
Case: 1:20-cv-00172-JAR Doc. #: 1 Filed: 08/12/20 Page: 9 of 16 PageID #: 9




   her case. Furthermore, they failed to provide accommodations to Plaintiff after she

   suffered a traumatic sexual assault. These are violations of Defendant’s own policies and

   Title IX.

46. It was over three years after the assault when Defendant SEMO’s Dean of Students at the

   time, L.R. “Trae” Mitten, finally told Plaintiff that the rapist’s name was Jordan Huerta.

   Mitten was a new Dean at the school, promoted after serving as Title IX Investigator at

   SEMO, and told Plaintiff that he would have handled her case differently and that he

   could not believe Defendant SEMO handled the case in this way.

47. In the three-year period after the sexual assault, no agent or representative of SEMO

   informed Plaintiff or her family about Plaintiff’s rights under Title IX. Mitten was the

   first SEMO representative to even tell Plaintiff the identity of the perpetrator (again,

   several years after she was sexually assaulted). Yet, after Plaintiff hired an attorney,

   Mitten and Defendant SEMO ceased all communications with Plaintiff and her family

   thereby retaliating against Plaintiff for exercising her civil rights.

48. SEMO had protected Huerta over Plaintiff and kept Plaintiff completely in the dark,

   while Plaintiff suffered significant mental and emotional anguish, a hostile environment,

   physical danger, and trauma from being unprotected. She was diagnosed with post-

   traumatic stress disorder, severe episodes of major depressive disorder, generalized

   anxiety disorder, and situational mixed anxiety and depressive disorder.

49. In addition, Plaintiff suffered harassment and retaliation from fellow students, including

   her sorority sisters at Alpha Delta Pi over her reactions to the sexual assault.

50. Plaintiff was eventually hospitalized for suicidal ideation.

51. Educationally, Plaintiff struggled and lost a scholarship as a direct result from the trauma

                                              9
Case: 1:20-cv-00172-JAR Doc. #: 1 Filed: 08/12/20 Page: 10 of 16 PageID #: 10




    she suffered stemming from her rape and SEMO’s refusal to comply with Title IX.

    Plaintiff requires and has been receiving intensive therapy to address these issues

    stemming from the sexual assault and the institutional betrayal by SEMO.



                                             COUNT I
                                   VIOLATION OF TITLE IX
                                     Against Defendant SEMO
                                     (20 U.S.C. § 1681, et seq.)
               (Deliberate Indifference to Sexual Harassment and Hostile Environment)

 52. All paragraphs above are incorporated herein by reference.

 53. The sex-based harassment articulated above was so severe, pervasive, and objectively

    offensive that it deprived Plaintiff of access to educational opportunities or benefits

    provided by Defendant SEMO.

 54. Defendant SEMO had actual knowledge that Plaintiff was sexually assaulted by Huerta.

    They had actual knowledge that Plaintiff wanted to know Huerta’s identity in order to

    take steps to protect herself and seek justice, but they refused to provide that information.

    They prevented her from beginning the Title IX process. They prevented her from

    seeking a civil Order of Protection. They prevented her from full access to civil and

    criminal courts.

 55. Defendant SEMO’s agent, Dean Mitten, admitted to these failures.

 56. Defendant SEMO failed to enforce Plaintiff’s no-contact order, failed to allow Plaintiff to

    seek her own safety measures and failed to provide Plaintiff with support so she could

    safely access her education free from gender discrimination and a discriminatory hostile

    environment.

 57. Instead, Defendant SEMO acted with deliberate indifference to the point that Plaintiff’s

                                             10
Case: 1:20-cv-00172-JAR Doc. #: 1 Filed: 08/12/20 Page: 11 of 16 PageID #: 11




    fear of Huerta and trauma after he sexually assaulted her caused her significant mental

    and emotional anguish - driving her to suicidal ideations and hospitalization. She

    struggled at Defendant SEMO academically to the point she lost a scholarship and

    socially because she faced retaliation from her peers.

 58. These actions amount to Defendant SEMO creating and/or subjecting and contributing to

    a hostile educational environment in violation of Title IX of the Education Amendments

    of 1972, 20 U.S.C. § 1681(a) (“Title IX”), because a) Plaintiff was a member of a

    protected class; b) she was subjected to sexual harassment in the form of a sexual assault

    by another student; c) she was subjected to harassment based on her sex; and d) she was

    subjected to a hostile educational environment created by the Defendant’s failure to

    follow their policies and procedures and failure to properly investigate and/or address the

    sexual assault and subsequent harassment.

 59. Defendant SEMO and its officials had actual knowledge of the sexual assault and the

    resulting harassment and sex discrimination of Plaintiff created by its failure to follow the

    investigative and due process procedures of its own policies, as well as federal and state

    law.

 60. Defendant SEMO’s failure to promptly and appropriately respond to the reported sexual

    harassment, resulted in Plaintiff, on the basis of her sex, being excluded from

    participation in, being denied the benefits of, and being subjected to discrimination in

    Defendant SEMO’s education program in violation of Title IX.

 61. Defendant SEMO failed to take immediate, effective remedial steps to resolve the

    complaints of sexual harassment and instead acted with deliberate indifference toward

    Plaintiff.

                                             11
Case: 1:20-cv-00172-JAR Doc. #: 1 Filed: 08/12/20 Page: 12 of 16 PageID #: 12




 62. Defendant SEMO persisted in its actions and inaction even after it had actual knowledge

    of the harm suffered by Plaintiff.

 63. Upon information and belief, Defendant SEMO engaged in a pattern and practice of

    behavior designed to discriminate against students like Plaintiff who reported sexual

    assaults and harassment and to protect perpetrators at the expense of students’ safety.

 64. This policy and/or practice constituted disparate treatment of females and had a disparate

    impact on female students. Examples which demonstrate Defendant SEMO’s disparate

    treatment of female students and clear gender discrimination include but are not limited

    to:

          a. Defendant SEMO’s failure to properly investigate Plaintiff’s reported sexual

             assault;

          b. Defendant SEMO’s failure to inform Plaintiff about the identity of her male rapist

             for approximately three years after she was raped;

          c. Defendant SEMO’s failure to update Plaintiff about the investigation or her rights

             during said investigation;

          d. Defendant SEMO’s refusal to take any meaningful action when Plaintiff’s male

             rapist, Huerta, freely walked Defendant SEMO’s campus including in a manner

             that violated Plaintiff’s no contact order;

          e. Defendant SEMO’s failure to provide any meaningful services to Plaintiff as she

             struggled with her mental and emotional wellbeing, as well as her academics; and

          f. Defendant SEMO’s failure to curb any of the retaliation Plaintiff faced from her

             fellow students, including the perpetrator, after reporting the sexual assault.

 65. As a result of Defendant SEMO’s deliberate indifference, Plaintiff has suffered emotional

                                               12
Case: 1:20-cv-00172-JAR Doc. #: 1 Filed: 08/12/20 Page: 13 of 16 PageID #: 13




      distress and psychological damage, and her character and standing in her community

      have suffered from the harassment fostered as a direct and proximate result of Defendant

      SEMO’s deliberate indifference to her rights under Title IX.



                                        COUNT II
                               VIOLATION OF TITLE IX
                                 Against Defendant SEMO
                                 (20 U.S.C. § 1681, et seq.)
(Failure to accommodate, provide interim safety measures and/or prevent retaliation as required
                                        by Title IX)

  66. All paragraphs above are incorporated herein by reference.

  67. Defendant was further deliberately indifferent to the acts of student-on-student

      harassment and retaliation in that it:

         a. Refused to enforce the no contact orders issued by Defendant SEMO;

         b. Withheld information from Plaintiff regarding Plaintiff’ sexual assault – most

             notably the identity of the person who raped her – despite multiple requests for

             said information so she could protect herself;

         c. Directed Mitten to cease contacting Plaintiff upon her acquisition of legal

             counsel;

         d. Withdrew Plaintiff’s scholarship after her academic performance suffered as a

             direct result of the trauma she suffered from her sexual assault; and

         e. Failed to respond to reports that Plaintiff was facing retaliation and harassment

             from other students as a result of her reporting her sexual assault.

  68. All of these actions demonstrated that Defendant SEMO failed to accommodate Plaintiff

      after she was sexually assaulted and failed to protect Plaintiff from retaliation upon

      reporting her sexual assault. These actions – or lack thereof – are the epitome of
                                               13
Case: 1:20-cv-00172-JAR Doc. #: 1 Filed: 08/12/20 Page: 14 of 16 PageID #: 14




    deliberate indifference.

 69. Plaintiff has suffered emotional distress and psychological damage, and her character and

    standing in her community have suffered from the harassment fostered as a direct and

    proximate result of Defendant University’s deliberate indifference to her rights under

    Title IX.



                                     COUNT III
                                  1983 VIOLATION
      Against Defendant SEMO and Department of Public Safety Officer Jyothi Dirnberger
                                  (42 U.S.C. § 1983.)

 70. All paragraphs above are incorporated herein by reference.

 71. Defendant Jyothi Dirnberger is named in this claim in her official and individual

    capacity.

 72. Defendant SEMO and Department of Public Safety Officer Jyothi Dirnberger acted at all

    times relevant herein under color of state law.

 73. Under the Fourteenth Amendment, Plaintiff had the right as a public university student to

    personal security and bodily integrity and Equal Protection of Laws. While acting under

    color of state law, Defendants deprived Plaintiff of these federal rights.

 74. Defendants each subjected Plaintiff to violations of her right to personal security and

    bodily integrity and Equal Protection of Laws by:

        a. failing to reveal the name of the person who raped Plaintiff to Plaintiff;

        b. actively concealing the identity of the perpetrator in this matter such that Plaintiff

            could not seek civil protection, or criminal or civil justice;

        c. failing to investigate the perpetrator’s misconduct;


                                              14
 Case: 1:20-cv-00172-JAR Doc. #: 1 Filed: 08/12/20 Page: 15 of 16 PageID #: 15




              d.   failing to appropriately discipline the perpetrator;

              e. failing to adequately inform Plaintiff of her rights with regard to the perpetrator in

                   terms of seeking safety measures from the school and from the justice system;

              f. by actively preventing Plaintiff from seeking justice and protective measures

                   against the perpetrator; and by

              g. manifesting deliberate indifference to the sexual assault and ongoing harassment

                   of Plaintiff.

   75. As a result of Defendants’ actions and/or failures to act, Plaintiff has suffered emotional

       distress and psychological damage, and her character and standing in her community

       have suffered from the harassment fostered as a direct and proximate result of Defendant

       University’s deliberate indifference to her rights under the Fourteenth Amendment.



   WHEREFORE, Plaintiff respectfully requests judgment in her favor and against Defendants,

as follows:

       A. Compensatory damages for Plaintiff’s psychological and emotional distress and

       damages, loss of standing in her community, damage to her reputation, and her family’s

       unreimbursed out of pocket expenses incurred in response to these circumstances;

       B. Punitive damages;

       D. Statutory interest;

       E. Costs; and

       F. Reasonable attorney fees.




                                                     15
 Case: 1:20-cv-00172-JAR Doc. #: 1 Filed: 08/12/20 Page: 16 of 16 PageID #: 16




                               DEMAND FOR JURY TRIAL

Plaintiff, by and through her attorneys, Gorovsky Law, LLC, demands a trial by jury.



Dated: August 12, 2020                             Respectfully submitted,


                                                   /s/ Nicole E. Gorovsky
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                                              16
